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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL ANTHONY LINDSEY,

Petitioner,

No. CV 21-06441-DSF(AGR)

JUDGMENT
V.

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)
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FELIPE MARTINEZ JR.,
)
)

Respondent.

 

Pursuant to the Order of Dismissal,

IT IS ADJUDGED that the Petition For Writ of Habeas Corpus is voluntarily

dismissed.

f\ or wos
DATED: October 22,2021 | AACS Ap. jr Aw

 

DALE S. FISCHER
United States District Judge

 
